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                                                        PerDiemCo LLC v. NexTraq
                                         PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                         U.S. Patent No. 9,871,874


       This claim chart demonstrates NexTraq’s infringement of U.S. Patent No. 9,871,874 and provides notice of such infringement, by comparing
each element of the asserted claims to corresponding components, aspects, and/or features of the Accused Instrumentalities. This claim chart include
information provided by way of example, and not by way of limitation.
      “Accused Instrumentalities” as used herein refers to herein provide event-based notifications/alerts based on locations of fleets of vehicles,
equipment, objects, drivers, and other assets equipped with sensors or tags (the Assets).
       1. NexTraq offers the following tracking products and services (the Accused Instrumentalities), including but not limited to NexTraq® Fleet
          Tracking solution (https://www.nextraq.com/wp-content/uploads/2018/04/NexTraq_New_User_Quick_Start_Guide.pdf), which provides
          data to NexTraq® Web Services (http://www.discretewireless.com/resources/APIReference.pdf) for use in various platforms and solutions
          that support:
               (a) NexTraq®’s Fleet Visibility and             Productivity products, services and solutions which are used for vehicle tracking
                   (https://www.nextraq.com/services/vehicle-tracking/), asset tracking https://www.nextraq.com/services/asset-tracking/), geo-
                   fencing         and        mapping           (https://www.nextraq.com/services/geofencing-mapping/),       real-time      alerts
                   (https://www.nextraq.com/services/real-time-alerts/), sensors (https://www.nextraq.com/services/sensors/) and integration with
                   third party platforms, solutions and/or applications (https://www.nextraq.com/services/integration/);
               (b) NexTraq® View™ and NexTraq® Connect™ mobile apps which are used by mobile work force
                   (https://www.nextraq.com/services/mobile-apps/);
               (c) NexTraq®         Fleet    Defender       (https://www.nextraq.com/services/fleet-defender/)     and   NexTraq®       Dashcam™
                   (https://www.nextraq.com/services/dashcam/) which are used for drive safety;
               (d) NexTraq® Driver ID, which is used for Automatic Driver Assignment (https://www.nextraq.com/services/automatic-driver-
                   assignment/)


       NexTraq “Mobile Tracking Devices” and/or “Mobile Devices” means:
       The Accused Instrumentalities track the Assets, which are attached to or carried by mobile devices, including but not limited to:
       1-Vehicle Trackers Family of products (e.g., VT-2300, VT-3030, VT-2630, VT-3640)
       2-Asset Trackers Family of products (e.g., AT-730, AT-5100)
                                                                          1

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                                                           PerDiemCo LLC v. NexTraq
                                            PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                            U.S. Patent No. 9,871,874


       3-Trailer Trackers (e.g., TT-2830)
       4-GPS Tracking Devices (e.g., LMU26H201-NXT01)
       5-Other GPS and sensor, e.g., temperature sensor, equipped mobile devices.
               The analysis set forth below is based only upon information from publicly available resources regarding the Infringing Instrumentalities.
An analysis of NexTraq’s (or other third parties’) technical documentation, and/or software source code, may assist in fully identifying all infringing
features and functionality. Accordingly, PerDiemCo reserves the right to supplement this infringement analysis once such information is made available
to PerDiemCo. Furthermore, PerDiemCo reserves the right to revise this infringement analysis, as appropriate, upon issuance of a court order construing
any terms recited in the asserted claim.
                Unless otherwise noted, PerDiemCo alleges that NexTraq directly infringes the ’874 patent in violation of 35 U.S.C. § 271(a) by selling,
offering to sell, making, using, and/or importing the Infringing Instrumentalities. The following exemplary analysis demonstrates that infringement.
Unless otherwise noted, PerDiemCo further contends that the evidence below supports a finding of indirect or contributory infringement under 35
U.S.C. §§ 271(b) and/or (c), in conjunction with other evidence of liability under one or more of those subsections. NexTraq makes, uses, sells, imports,
or offers for sale in the United States, or has made, used, sold, imported, or offered for sale in the past, without authority, or induces others to make,
use, sell, import, or offer for sale in the United States, or has induced others to make, use, sell, import, or offer for sale in the past, without authority
products, equipment, or services that infringe claims the ’874 patent, including without limitation, the Accused Instrumentalities.
                Unless otherwise noted, PerDiemCo alleges that each element of each claim asserted herein is literally met through NexTraq’s provision
of the Accused Instrumentalities. However, to the extent that NexTraq attempts to allege that any asserted claim element is not literally met, PerDiemCo
believes and contends that such elements are met under the doctrine of equivalents. More specifically, in its investigation and analysis of the Infringing
Instrumentalities, PerDiemCo did not identify any substantial differences between the elements of the patent claim and the corresponding features of
the Infringing Instrumentalities, as set forth herein. In each instance, the identified feature of the Infringing Instrumentalities performs at least
substantially the same function in substantially the same way to achieve substantially the same result as the corresponding claim element.
         To the extent the chart of an asserted claim relies on evidence about certain specifically identified Accused Instrumentalities, PerDiemCo asserts
that, on information and belief, any similarly functioning instrumentalities also infringes the charted claim. PerDiemCo reserves the right to amend
this infringement analysis based on other products made, used, sold, imported, or offered for sale by NexTraq. PerDiemCo also reserves the right to
amend this infringement analysis by citing other claims of the ’874 patent, not listed in the claim chart, that are infringed by the Accused

                                                                             2

                                                                                                                                             Exhibit B-1
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                                                        PerDiemCo LLC v. NexTraq
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                                                         U.S. Patent No. 9,871,874


Instrumentalities. PerDiemCo further reserves the right to amend this infringement analysis by adding, subtracting, or otherwise modifying content in
the “Accused Instrumentalities” column of each chart.


 Claim       US Patent       Description of the Infringement
             9,871,874
 Indep                       NexTraq Fleet Tracking platform is a cloud-based solution for tracking assets using a standard Internet connection. On
    .   11. A method for     information and belief, the Accused Instrumentalities use applications, storage, on-demand services, computer networks,
 Cl. 11 tracking             including servers and databases or other resources that are accessed with the Internet connection through on-premise or
        locations of a       another provider's shared cloud computing framework, including servers and databases administered by third parties.
  11-p plurality of          On information and belief, the Accused Instrumentalities use an access identity and management (IAM) services to
        mobile objects       securely control access to resources used by NexTraq’s cloud-based solution. More specifically, the Accused
        associated with      Instrumentalities use the IAM to control who is authenticated (signed in) and authorized (has permissions) to use the
        one or more          resources.
        wireless location
        information
        sources that
        provide mobile
        object locations
        Which allows a
        plurality of users
        of a tracking
        service provider
        having an
        administrator
        with a first level
        of administrative
        privilege of
        controlling user
        membership in

                                                                         3

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                                                      PerDiemCo LLC v. NexTraq
                                       PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                       U.S. Patent No. 9,871,874


Claim      US Patent      Description of the Infringement
           9,871,874
       groups to track    (Source: Page No. 9 of http://www.alltrackusa.com/RTH_user_guide.pdf)
       the plurality of
       mobile objects,
       the mobile
       device tracking
       service being
       provided by the
       administrator to
 11-p the plurality of
(cont. users in the
  )    groups who track
       the plurality of
       mobile devices,
       the method being   (Source: Page No. 9 of http://www.alltrackusa.com/RTH_user_guide.pdf)
       executed in a
       database
       management
       system that
       interfaces with
       one or more
       databases that
       identify the
       plurality of
       mobile objects
                          (Source: Page No. 4 of https://www.infotelligent.com/company/verizon-networkfleet/company/3485751 )
       by corresponding
       object
                          On information and belief, the Accused Instrumentalities currently use NexTraq’s tracking applications executed by
       identification     servers of a database management system (DBMS) constituting DBMS Applications (DBMSAs), including NexTraq®
       codes (OID
       codes) and the
                                                                        4

                                                                                                                                  Exhibit B-1
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                                                       PerDiemCo LLC v. NexTraq
                                        PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                        U.S. Patent No. 9,871,874


Claim      US Patent        Description of the Infringement
           9,871,874
       plurality of users   Fleet Tracking applications (the Accused Applications), which rely on managed database services used in an on-premise
       by corresponding     data warehouse solution.
       user                 On information and belief, NexTraq is re-platforming its Fleet Tracking platform so that the Accused Instrumentalities
       identification       would transition to using AWS native services such as AWS Relational Database Service (RDS), a managed database
       codes (UID           service provided by AWS databases (DB) and AWS Redshift, Oracle, MS SQL, etc.
       codes)
       to determine
       which users are
       allowed to be
       recipients of
       certain
 11-p notification
(cont. information
  )    when events
       based on the
       mobile object
       locations occur,
       wherein one or
       more users are
       not allowed to be
       recipients of the
       certain
       notification
       information
       when such
       events occur,
       said method
       comprising:

                                                                        5

                                                                                                                                 Exhibit B-1
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                                                    PerDiemCo LLC v. NexTraq
                                     PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                     U.S. Patent No. 9,871,874


Claim    US Patent    Description of the Infringement
         9,871,874
                      (Source: Page No. 1 of https://employzone.com/job-view/us-ga-atlanta/cloud-data-
                      engineer/dayforcehcm/9505416277?ez_source=alert&ez_campaign=daily-alert&ez_medium=azcs)
                      ---------------------------------------------------------------------------------------------------------------------------------------------
                      As provider of the above tracking services, NexTraq (or one or more administrators employed by NexTraq) is the
                      administrator of the service that uses its first level of administrative privilege for controlling user membership in groups.




                      (Source: Page No. 1 of https://www.nextraq.com/terms-and-conditions/ )



 11-p
(cont.
  )




                      (Source: Page No. 199 of http://www.alltrackusa.com/RTH_user_guide.pdf)


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                                                    PerDiemCo LLC v. NexTraq
                                     PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                     U.S. Patent No. 9,871,874


Claim    US Patent    Description of the Infringement
         9,871,874




                      (Source: Page No. 2 of https://www.nextraq.com/terms-and-conditions/ )
                      ---------------------------------------------------------------------------------------------------------------------------------------------
                      The Accused Instrumentalities is used to track locations of a plurality of mobile objects/assets/vehicles identified by
                      Object IDs (OIDs) by plurality of users identified by user IDs. The Accused Instrumentalities are executed in the DBSM,
                      which interfaces one or more databases in on-premise data warehouse or AWS for storing the OIDs and UIDs.

                                                              Mobile Objects/Assets/Vehicles identified by OIDs




 11-p
(cont.
  )




                      (Source: Page No. 3 of https://www.nextraq.com/wp-content/uploads/2018/04/NexTraq_New_User_Quick_Start_Guide.pdf)




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                                                                                                                                               Exhibit B-1
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                                                 PerDiemCo LLC v. NexTraq
                                  PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                  U.S. Patent No. 9,871,874


Claim   US Patent    Description of the Infringement
        9,871,874




                     (Source: Page No. 182 of http://www.alltrackusa.com/RTH_user_guide.pdf)

                     The mobile objects/assets/vehicles are associated with mobile tracking devices/mobile devices identified by object IDs
                     (OIDs) i.e., Hardware Ids that provide mobile object locations using wireless GPS location information sources.




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                                                                                                                          Exhibit B-1
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                                                    PerDiemCo LLC v. NexTraq
                                     PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                     U.S. Patent No. 9,871,874


Claim   US Patent     Description of the Infringement
        9,871,874




                      (Source: Page No. 182 of http://www.alltrackusa.com/RTH_user_guide.pdf)
                      ---------------------------------------------------------------------------------------------------------------------------------------------
                                                         Mobile Devices Equipped with Location Information Sources
                      1-Vehicle Trackers Family of products (e.g., VT-2300, VT-3030, VT-2630, VT-3640)
                      2-Asset Trackers Family of products (e.g., AT-730, AT-5100)
                      3-Trailer Trackers (e.g., TT-2830)
                      4-GPS Tracking Devices (e.g., LMU26H201-NXT01)




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                                                  PerDiemCo LLC v. NexTraq
                                   PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                   U.S. Patent No. 9,871,874


Claim   US Patent     Description of the Infringement
        9,871,874
                      (Source: Page No. 27 of http://www.alltrackusa.com/RTH_user_guide.pdf)




                      (Source: Page No. 1 of https://www.nextraq.com/resource/hvac-companies-win-with-gps-fleet-management/ )




                      (Source: Page No. 2 of https://www.nextraq.com/services/vehicle-tracking/ )




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                                                  PerDiemCo LLC v. NexTraq
                                   PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                   U.S. Patent No. 9,871,874


Claim   US Patent     Description of the Infringement
        9,871,874




                      (Source: Page No. 3 of https://www.nextraq.com/services/vehicle-tracking/ )




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                                                  PerDiemCo LLC v. NexTraq
                                   PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                   U.S. Patent No. 9,871,874


Claim   US Patent     Description of the Infringement
        9,871,874




                      (Source: Page No. 2 of https://www.nextraq.com/services/vehicle-tracking/ )




                      (Source: Page No. 1 of https://www.ebay.com/itm/272838073110)



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                                                  PerDiemCo LLC v. NexTraq
                                   PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                   U.S. Patent No. 9,871,874


Claim   US Patent     Description of the Infringement
        9,871,874




                      (Source: Page No. 1 of https://www.nextraq.com/services/asset-tracking/)




                      (Source: Page No. 2 of https://www.nextraq.com/services/asset-tracking/)




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                                                  PerDiemCo LLC v. NexTraq
                                   PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                   U.S. Patent No. 9,871,874


Claim   US Patent     Description of the Infringement
        9,871,874




                      (Source: Page No. 2 of https://www.nextraq.com/services/asset-tracking/)




                      (Source: Page No. 3 of https://www.nextraq.com/services/asset-tracking/)




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                                                    PerDiemCo LLC v. NexTraq
                                     PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                     U.S. Patent No. 9,871,874


Claim   US Patent     Description of the Infringement
        9,871,874




                      (Source: Page No. 1 of https://www.ebay.com/itm/174395543130?chn=ps&norover=1&mkevt=1&mkrid=711-213727-13078-
                      0&mkcid=2&itemid=174395543130&targetid=4580359295528874&device=c&mktype=&googleloc=&poi=&campaignid=437
                      225724&mkgroupid=1228154759183859&rlsatarget=pla-
                      4580359295528874&abcId=9300907&merchantid=51291&msclkid=ac556c89a9351a832f4c0fa25eb06e08 )
                      ---------------------------------------------------------------------------------------------------------------------------------------------
                      NexTraq as provider of the above identified tracking services allows users identified by User IDs to track the plurality
                      of mobile objects/assets/vehicles identified by OIDs different from User IDs.

                                                                           Users identified by User IDs




                      (Source: Page No. 207 of http://www.alltrackusa.com/RTH_user_guide.pdf)



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                                                                                                                                              Exhibit B-1
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                                                  PerDiemCo LLC v. NexTraq
                                   PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                   U.S. Patent No. 9,871,874


Claim   US Patent     Description of the Infringement
        9,871,874




                      (Source: Page No. 209 of http://www.alltrackusa.com/RTH_user_guide.pdf)




                      (Source: Page No. 209 of http://www.alltrackusa.com/RTH_user_guide.pdf)
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                                                    PerDiemCo LLC v. NexTraq
                                     PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                     U.S. Patent No. 9,871,874


Claim   US Patent     Description of the Infringement
        9,871,874
                      -----------------------------------------------------------------------------------------------------------------------------------------------
                      The DBSM determines which users are allowed to be recipients of certain notification information i.e., alert when events
                      based on the mobile object locations occur such that one or more users are not allowed to be recipients of the certain
                      notification information i.e., alert when such events, such as arrival and departure occurs.

                                                                          Notification Information/Alerts




                      (Source: Page No. 1 of https://www.nextraq.com/services/real-time-alerts/ )




                      (Source: Page No. 9 of https://www.nextraq.com/wp-content/uploads/2018/04/NexTraq_New_User_Quick_Start_Guide.pdf)


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                                                  PerDiemCo LLC v. NexTraq
                                   PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                   U.S. Patent No. 9,871,874


Claim   US Patent     Description of the Infringement
        9,871,874




                      (Source: Page No. 148 of http://www.alltrackusa.com/RTH_user_guide.pdf)




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                                                 PerDiemCo LLC v. NexTraq
                                  PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                  U.S. Patent No. 9,871,874


Claim   US Patent     Description of the Infringement
        9,871,874




                      (Source: Page No. 9 of https://www.nextraq.com/wp-content/uploads/2018/04/NexTraq_New_User_Quick_Start_Guide.pdf)
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                                                    PerDiemCo LLC v. NexTraq
                                     PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                     U.S. Patent No. 9,871,874


Claim   US Patent     Description of the Infringement
        9,871,874




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                      (Source: Page No. 148 of http://www.alltrackusa.com/RTH_user_guide.pdf)
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                                                         PerDiemCo LLC v. NexTraq
                                          PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                          U.S. Patent No. 9,871,874


Claim      US Patent         Description of the Infringement
           9,871,874
                             One or more centralized or distributed servers of an on-premise data warehouse or servers of Amazon Web Services
                             (AWS) interface with database management system to identify groups of users of the plurality users who the track mobile
                             objects.




                             (Source: Page No. 1 of https://www.nextraq.com/resource/hvac-companies-win-with-gps-fleet-management/ )
11-a    a. checking the      See 11-p for first level of administrative privilege of administrator of tracking service, mobile objects identified by OIDs,
        first level of       notification information, wireless location information sources, users identified by corresponding UID codes, controlling
        administrative       user membership in groups, database management system and database.
        privilege of the
        administrator        The tracking service provided by the Accused Instrumentalities are used by a plurality of authorized users, such as fleet
        before               managers of companies or organizations in various Customer environments. Each company or organization is a group
        controlling user     identified by company or organization name or account ID, i.e., group identification code.
        membership in
        one or more                                                   Groups identified by Group IDs (GIDs)
        groups specified
        by the
        administrator,
        said groups
        including a
        group identified
        by a group ID
        code (GID code)
        of users of the
        plurality of users
                                                                           21

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                                          PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                          U.S. Patent No. 9,871,874


Claim      US Patent       Description of the Infringement
           9,871,874
       who are             (Source: Page No. 18 of http://www.alltrackusa.com/RTH_user_guide.pdf)
       identified by
       corresponding
       UID codes,
       wherein the
       group includes
       1) an authorized
       user other than
       the administrator
       identified by an
       authorized user
       ID code (AUID       (Source: Page No. 199 of http://www.alltrackusa.com/RTH_user_guide.pdf)
 11-a code) having a       ---------------------------------------------------------------------------------------------------------------------------------------------
(cont. second level of     NexTraq (or one or more administrators employed by NexTraq) uses its first level of administrative privilege to controls
  )    administrative      user membership in groups by identifying its customers by GIDs, i.e., company or organization name or account
       privilege given     number/ID, as user groups in the one or more databases in on-premise data warehouse or AWS and controlling access
       by the              to user accounts.
       administrator to
       authorized user                                                      Access to authorized user accounts
       to control
       conveyance of
       notifications in
       the group,
       wherein the
       administrator
       having the first
       level of
       administrative
       privilege does
                                                                               22

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                                                       PerDiemCo LLC v. NexTraq
                                        PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                        U.S. Patent No. 9,871,874


Claim      US Patent       Description of the Infringement
           9,871,874
       not exercise the
       second level of
       administrative
       privilege given
       to the authorized
       user, and
       2) a second user
       identified by a
       second user ID
       code (SUID
       code) different
       from the AUID
       code and
       3) a mobile
       object identified
 11-a by an OID code
(cont. different from
  )    the AUID code
       and SUID code;
                           (Source: Page No. 209 of http://www.alltrackusa.com/RTH_user_guide.pdf)
       and




                           (Source: Page No. 209 of http://www.alltrackusa.com/RTH_user_guide.pdf)



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                                                     PerDiemCo LLC v. NexTraq
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                                                      U.S. Patent No. 9,871,874


Claim    US Patent     Description of the Infringement
         9,871,874




                       (Source: Page No. 14 of http://www.alltrackusa.com/RTH_user_guide.pdf)




 11-a
(cont.
  )                    (Source: Page No. 14 of http://www.alltrackusa.com/RTH_user_guide.pdf)
                       ---------------------------------------------------------------------------------------------------------------------------------------------
                       NexTraq’s first level of administrative privilege is checked through servers of an on-premise data warehouse or servers
                       of Amazon Web Services (AWS) (for example by, AWS IAM) before controlling user membership in specified groups.

                                                                 Checking first level of administrative privilege



                                                                           24

                                                                                                                                               Exhibit B-1
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                                                  PerDiemCo LLC v. NexTraq
                                   PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                   U.S. Patent No. 9,871,874


Claim    US Patent     Description of the Infringement
         9,871,874




 11-a
(cont.
  )
                       (Source: Page No. 1 of
                       https://signin.aws.amazon.com/signin?redirect_uri=https%3A%2F%2Faws.amazon.com%2Fmarketplace%2Fmanagement%2Fs
                       ignin%3Fstate%3DhashArgs%2523%26isauthcode%3Dtrue&client_id=arn%3Aaws%3Aiam%3A%3A015428540659%3Auser%
                       2Faws-mp-seller-management-


                                                               25

                                                                                                                     Exhibit B-1
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                                                    PerDiemCo LLC v. NexTraq
                                     PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                     U.S. Patent No. 9,871,874


Claim   US Patent     Description of the Infringement
        9,871,874
                      portal&forceMobileApp=0&code_challenge=NYKP4aX0wYyyWBOSFoRTm5zPRRoVZqHdO6JW1cv8U2g&code_challenge_me
                      thod=SHA-256)
                      ---------------------------------------------------------------------------------------------------------------------------------------------
                      The company or organization has users identified by corresponding UID codes, including an authorized user other than
                      the account administrator identified by an authorized user ID code (AUID code) who is the group administrator.
                      NexTraq (or one or more administrators employed by NexTraq) uses the first level of administrative privilege to identify
                      the group administrator and gives the group administrator a second level of administrative privilege for controlling
                      conveyance of notifications i.e., alerts in the group.

                                                      Authorized user having second level of administrative privileges




                      (Source: Page No. 1 of https://www.nextraq.com/terms-and-conditions/ )




                      (Source: https://www.nextraq.com/terms-and-conditions/ )




                      (Source: Page No. 168 of http://www.alltrackusa.com/RTH_user_guide.pdf)




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                                                                                                                                              Exhibit B-1
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                                                  PerDiemCo LLC v. NexTraq
                                   PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                   U.S. Patent No. 9,871,874


Claim   US Patent     Description of the Infringement
        9,871,874




                      (Source: Page No. 203 of http://www.alltrackusa.com/RTH_user_guide.pdf)




                      (Source: Page No. 14 of http://www.alltrackusa.com/RTH_user_guide.pdf)




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                                                                                                   Exhibit B-1
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                                                  PerDiemCo LLC v. NexTraq
                                   PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                   U.S. Patent No. 9,871,874


Claim   US Patent     Description of the Infringement
        9,871,874




                      (Source: Page No. 14 of http://www.alltrackusa.com/RTH_user_guide.pdf)

                      Account administrator is given the second level of administrative privileges at the customer level (i.e., group level) with
                      access to all tabs. Any administrator at the group level with access to alert and zone tabs possesses the second level of
                      administrative privileges.




                                                                   28

                                                                                                                               Exhibit B-1
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                                                  PerDiemCo LLC v. NexTraq
                                   PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                   U.S. Patent No. 9,871,874


Claim   US Patent     Description of the Infringement
        9,871,874




                      (Source: Page No. 209 of http://www.alltrackusa.com/RTH_user_guide.pdf)




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                                                  PerDiemCo LLC v. NexTraq
                                   PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                   U.S. Patent No. 9,871,874


Claim   US Patent     Description of the Infringement
        9,871,874




                      (Source: Page No. 207 of http://www.alltrackusa.com/RTH_user_guide.pdf)




                      (Source: Page No. 18 of http://www.alltrackusa.com/RTH_user_guide.pdf)




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                                                                                                   Exhibit B-1
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                                                    PerDiemCo LLC v. NexTraq
                                     PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                     U.S. Patent No. 9,871,874


Claim   US Patent     Description of the Infringement
        9,871,874




                      (Source: Page No. 168 of http://www.alltrackusa.com/RTH_user_guide.pdf)
                      ---------------------------------------------------------------------------------------------------------------------------------------------
                      NexTraq (or one or more administrators employed by NexTraq) does not perform the administrative functions performed
                      by its customers group administrators.

                      The group also has a second user identified by a second user ID code (SUID code) different from the AUID code such
                      as a fleet manager.

                      See 11-p for users identified by user IDs, which applies to the fleet managers. As the second user, the fleet manager can
                      receive alerts, i.e., the notification information, see, 11-p.

                                                Second authorized users identified by a second user ID code (SUID code)

                                                                          31

                                                                                                                                              Exhibit B-1
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                                                  PerDiemCo LLC v. NexTraq
                                   PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                   U.S. Patent No. 9,871,874


Claim   US Patent     Description of the Infringement
        9,871,874




                      (Source: Page No. 1 of https://www.nextraq.com/services/real-time-alerts/ )




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                                                         PerDiemCo LLC v. NexTraq
                                          PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                          U.S. Patent No. 9,871,874


Claim      US Patent         Description of the Infringement
           9,871,874




                             (Source: Page No. 209 of http://www.alltrackusa.com/RTH_user_guide.pdf)
11-b    b. checking the      See 11-p for first level of administrative privilege of administrator of tracking service, mobile objects identified by OIDs,
        second level of      notification information, wireless location information sources, users identified by corresponding UID codes, controlling
        administrative       user membership in groups, database management system and database.
        privilege of the
        authorized user      See 11-a for authorized user identified by AUID, specifying groups identified by group ID codes (GID codes), second
        based on the         level of administrative privilege, and second authorized user identified by SUID code.
        AUID code
                                                                           33

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                                                        PerDiemCo LLC v. NexTraq
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                                                         U.S. Patent No. 9,871,874


Claim       US Patent       Description of the Infringement
            9,871,874
       before providing     NexTraq (or one or more administrators employed by NexTraq) checks the second level of administrative privilege of
       one or more          the authorized user based on the AUID code.
       users interfaces
       to the authorized
       user to specify:
       i. an event
       condition based
       on the mobile
                            (Source: Page No. 1 of https://www.nextraq.com/terms-and-conditions/ )
       object locations
       that causes a
       group event to
       occur; and
       ii. an information
 11-b access code           (Source: https://www.nextraq.com/terms-and-conditions/ )
(cont. comprising an
  )    access list that
       identifies one or
       more users of the
                            (Source: Page No. 168 of http://www.alltrackusa.com/RTH_user_guide.pdf)
       plurality of users
       by corresponding
       UID codes
       including the
       SUID code of
       the second user      (Source: Page No. 203 of http://www.alltrackusa.com/RTH_user_guide.pdf)
       who are
       recipients of a
       notification
       information

                                                                          34

                                                                                                                              Exhibit B-1
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                                                            PerDiemCo LLC v. NexTraq
                                             PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                             U.S. Patent No. 9,871,874


Claim        US Patent        Description of the Infringement
             9,871,874
         when the group
         event occurs
         such that any
         user of the
         plurality of users
         who is not
         identified on the
         access list is not
         a recipient of the
         notification
         information          (Source: Page No. 14 of http://www.alltrackusa.com/RTH_user_guide.pdf)
         when the group
         event occurs;
         and


 11-b
(cont.
  )



                              (Source: Page No. 14 of http://www.alltrackusa.com/RTH_user_guide.pdf)
                              ---------------------------------------------------------------------------------------------------------------------------------------------
                              After checking the second level of administrative privilege, NexTraq (or one or more administrators employed by
                              NexTraq) provides interfaces to the authorized user to specify an event condition (i.e., arrival or departure) based on the
                              mobile object/asset/vehicle locations that causes a group event, such as arrival and departure to occur.

                                                                               Event Condition/Arrival/Departure
                                                                                 35

                                                                                                                                                      Exhibit B-1
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                                                     PerDiemCo LLC v. NexTraq
                                      PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                      U.S. Patent No. 9,871,874


Claim    US Patent     Description of the Infringement
         9,871,874




                       (Source: Page No. 1 of https://www.nextraq.com/services/geofencing-mapping/)

 11-b
(cont.
  )



                       (Source: Page No. 148 of http://www.alltrackusa.com/RTH_user_guide.pdf)
                       ---------------------------------------------------------------------------------------------------------------------------------------------
                       After checking the second level of administrative privilege, NexTraq (or one or more administrators employed by
                       NexTraq) provides interface to the authorized user to specify an information access code comprising an access list that
                                                                           36

                                                                                                                                               Exhibit B-1
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                                                   PerDiemCo LLC v. NexTraq
                                    PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                    U.S. Patent No. 9,871,874


Claim    US Patent     Description of the Infringement
         9,871,874
                       identifies one or more users who are privileged to be recipients of a notification information i.e., alert when the group
                       event, such as arrival and departure occurs. The access list identifies the SUID code, e.g., ID of the fleet manager (See,
                       11-a), on the access list. Users who are not identified on the access list are not recipients of the notification information
                       i.e., alerts when the group event, such as arrival and departure occur.

                                                                                 Access List




                       (Source: Page No. 1 of https://www.nextraq.com/services/real-time-alerts/ )




 11-b
(cont.
  )
                       (Source: Page No. 9 of https://www.nextraq.com/wp-content/uploads/2018/04/NexTraq_New_User_Quick_Start_Guide.pdf)




                                                                      37

                                                                                                                                  Exhibit B-1
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                                                  PerDiemCo LLC v. NexTraq
                                   PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                   U.S. Patent No. 9,871,874


Claim   US Patent     Description of the Infringement
        9,871,874




                      (Source: Page No. 209 of http://www.alltrackusa.com/RTH_user_guide.pdf)




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                                                  PerDiemCo LLC v. NexTraq
                                   PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                   U.S. Patent No. 9,871,874


Claim   US Patent     Description of the Infringement
        9,871,874




                      (Source: Page No. 148 of http://www.alltrackusa.com/RTH_user_guide.pdf)




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                                                 PerDiemCo LLC v. NexTraq
                                  PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                  U.S. Patent No. 9,871,874


Claim   US Patent     Description of the Infringement
        9,871,874




                      (Source: Page No. 9 of https://www.nextraq.com/wp-content/uploads/2018/04/NexTraq_New_User_Quick_Start_Guide.pdf)
                                                                  40

                                                                                                                           Exhibit B-1
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                                                         PerDiemCo LLC v. NexTraq
                                          PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                          U.S. Patent No. 9,871,874


Claim      US Patent         Description of the Infringement
           9,871,874




                             (Source: Page No. 149 of http://www.alltrackusa.com/RTH_user_guide.pdf)
11-c    c. checking a        See 11-p for first level of administrative privilege of administrator of tracking service, mobile objects identified by OIDs,
        first level of       notification information, wireless location information sources, users identified by corresponding UID codes, controlling
        access control       user membership in groups, database management system and database.
        based on the
        UID codes to         See 11-a for authorized user identified by AUID, specifying groups identified by group ID codes (GID codes), second
        determine which      level of administrative privilege, and second authorized user identified by SUID code.
        users of the
        plurality of users   See 11-b for event condition, group event and information access code.
        can receive the
                                                                           41

                                                                                                                                        Exhibit B-1
                                                                                                                                     Page 41 of 107
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                                                        PerDiemCo LLC v. NexTraq
                                         PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                         U.S. Patent No. 9,871,874


Claim       US Patent       Description of the Infringement
            9,871,874
        notification        A first level of access control is checked based on the UID codes to determine which users of the plurality of users can
        information         receive the notification information i.e., alert when the group event, such as arrival and departure occur.
        when the group
        event occurs;
        and




                            (Source: Page No. 14 of http://www.alltrackusa.com/RTH_user_guide.pdf)




                            (Source: Page No. 14 of http://www.alltrackusa.com/RTH_user_guide.pdf)
11-d    checking a          See 11-p for first level of administrative privilege of administrator of tracking service, mobile objects identified by OIDs,
        second level of     notification information, wireless location information sources, users identified by corresponding UID codes, controlling
        access control      user membership in groups, database management system and database.
        based on the
                                                                          42

                                                                                                                                       Exhibit B-1
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                                                         PerDiemCo LLC v. NexTraq
                                          PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                          U.S. Patent No. 9,871,874


Claim       US Patent        Description of the Infringement
            9,871,874
        information          See 11-a for authorized user identified by AUID, specifying groups identified by group ID codes (GID codes), second
        access code          level of administrative privilege, and second authorized user identified by SUID code.
        before sending
        the notification     See 11-b for event condition, group event and information access code.
        information
        when the             See 11-c for checking first level of access control based on the UID codes.
        database
        management           A second level of access control is checked based on the information access code before sending the notification
        system               information i.e., alert when the database management system determines that the group event, such as arrival and
        determines that      departure, has occurred. The notification information i.e., alert is being sent to the one or more recipients identified on
        the group event      the access list including the second user to protect user privacy such that only identified users of the plurality of users on
        has occurred;        the access list can receive the notification information i.e., alert.

        the notification
        information
        being sent to the
        one or more
        recipients
        identified on the
        access list          (Source: Page No. 1 of https://www.nextraq.com/services/real-time-alerts/ )
        including the
        second user to
        protect user
        privacy such that
        only identified
        users of the
        plurality of users
        on the access list
        can receive the
                                                                            43

                                                                                                                                         Exhibit B-1
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                                                      PerDiemCo LLC v. NexTraq
                                       PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                       U.S. Patent No. 9,871,874


Claim       US Patent     Description of the Infringement
            9,871,874
        notification
        information.




                          (Source: Page No. 9 of https://www.nextraq.com/wp-content/uploads/2018/04/NexTraq_New_User_Quick_Start_Guide.pdf)




                          (Source: Page No. 148 of http://www.alltrackusa.com/RTH_user_guide.pdf)




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                                                                                                                               Exhibit B-1
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                                                 PerDiemCo LLC v. NexTraq
                                  PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                  U.S. Patent No. 9,871,874


Claim   US Patent     Description of the Infringement
        9,871,874




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                                                        PerDiemCo LLC v. NexTraq
                                         PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                         U.S. Patent No. 9,871,874


Claim      US Patent        Description of the Infringement
           9,871,874
                            (Source: Page No. 9 of https://www.nextraq.com/wp-content/uploads/2018/04/NexTraq_New_User_Quick_Start_Guide.pdf)




                            (Source: Page No. 149 of http://www.alltrackusa.com/RTH_user_guide.pdf)
44-p    A method that       NexTraq Fleet Tracking platform is a cloud-based solution for tracking assets using a standard Internet connection. On
        uses a wireless     information and belief, the Accused Instrumentalities use applications, storage, on-demand services, computer networks,
        system having an    including servers and databases or other resources that are accessed with the Internet connection through on-premise or
        administrator for   another provider's shared cloud computing framework, including servers and databases administered by third parties.
        tracking            On information and belief, the Accused Instrumentalities use an access identity and management (IAM) services to
        locations of a      securely control access to resources used by NexTraq’s cloud-based solution. More specifically, the Accused
        plurality of        Instrumentalities use the IAM to control who is authenticated (signed in) and authorized (has permissions) to use the
        mobile objects      resources.
                                                                         46

                                                                                                                                  Exhibit B-1
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                                                         PerDiemCo LLC v. NexTraq
                                          PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                          U.S. Patent No. 9,871,874


Claim       US Patent        Description of the Infringement
            9,871,874
        received from
        one or more
        location
        information
        sources over a
        wireless location
        network that
        provides the
        mobile object
        locations to a
        database
        management
        system that
        determines
        which users of a
        plurality of users
        of a tracking        (Source: Page No. 9 of http://www.alltrackusa.com/RTH_user_guide.pdf)
        service provider
        are privileged to
        receive
        notification
        information
        when events that
        are based on the
        locations of the
        mobile objects
        occur, wherein
        one or more
        users are not
                                                                          47

                                                                                                        Exhibit B-1
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                                                          PerDiemCo LLC v. NexTraq
                                           PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                           U.S. Patent No. 9,871,874


Claim       US Patent         Description of the Infringement
            9,871,874
        privileged to
        receive such
        notification
        information
        when the events
        occur,
        the method being
        executed in the
        database
        management
        system
        interfacing with
        the wireless
        location network      (Source: Page No. 9 of http://www.alltrackusa.com/RTH_user_guide.pdf)
        and a database
        that identifies the
        plurality of the
        users by
        corresponding
        user
        identification
        codes and the
        plurality of the      (Source: Page No. 4 of https://www.infotelligent.com/company/verizon-networkfleet/company/3485751 )
        mobile objects
        by corresponding      On information and belief, the Accused Instrumentalities currently use NexTraq’s tracking applications executed by
        object                servers of a database management system (DBMS) constituting DBMS Applications (DBMSAs), including NexTraq®
        identification        Fleet Tracking applications (the Accused Applications), which rely on managed database services used in an on-premise
        codes, said           data warehouse solution.
        method
                                                                           48

                                                                                                                                       Exhibit B-1
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                                                      PerDiemCo LLC v. NexTraq
                                       PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                       U.S. Patent No. 9,871,874


Claim       US Patent      Description of the Infringement
            9,871,874
        comprising the     On information and belief, NexTraq is re-platforming its Fleet Tracking platform so that the Accused Instrumentalities
        steps of:          would transition to using AWS native services such as AWS Relational Database Service (RDS), a managed database
                           service provided by AWS databases (DB) and AWS Redshift, Oracle, MS SQL, etc.




                                                                      49

                                                                                                                                Exhibit B-1
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                                                 PerDiemCo LLC v. NexTraq
                                  PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                  U.S. Patent No. 9,871,874


Claim   US Patent     Description of the Infringement
        9,871,874




                      (Source: Page No. 1 of https://employzone.com/job-view/us-ga-atlanta/cloud-data-
                      engineer/dayforcehcm/9505416277?ez_source=alert&ez_campaign=daily-alert&ez_medium=azcs)

                                                               50

                                                                                                                   Exhibit B-1
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                                                    PerDiemCo LLC v. NexTraq
                                     PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                     U.S. Patent No. 9,871,874


Claim   US Patent     Description of the Infringement
        9,871,874
                      ---------------------------------------------------------------------------------------------------------------------------------------------
                      As provider of the above tracking services, NexTraq (or one or more administrators employed by NexTraq) is the
                      administrator of the service.




                      (Source: Page No. 1 of https://www.nextraq.com/terms-and-conditions/ )




                      (Source: Page No. 199 of http://www.alltrackusa.com/RTH_user_guide.pdf)




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                                                                                                                                              Exhibit B-1
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                                                    PerDiemCo LLC v. NexTraq
                                     PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                     U.S. Patent No. 9,871,874


Claim   US Patent     Description of the Infringement
        9,871,874
                      (Source: https://www.nextraq.com/terms-and-conditions/ )
                      --------------------------------------------------------------------------------------------------------------------------------------------
                      The Accused Instrumentalities is used to track locations of a plurality of mobile objects/assets/vehicles identified by
                      Object IDs (OIDs) by plurality of users identified by user IDs. The Accused Instrumentalities are executed in the DBSM,
                      which interfaces one or more databases in on-premise data warehouse or AWS for storing the OIDs and UIDs.

                                                             Mobile Objects/Assets/Vehicles identified by OIDs




                      (Source: Page No. 3 of https://www.nextraq.com/wp-content/uploads/2018/04/NexTraq_New_User_Quick_Start_Guide.pdf)




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                                                                                                                                             Exhibit B-1
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                                                  PerDiemCo LLC v. NexTraq
                                   PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                   U.S. Patent No. 9,871,874


Claim   US Patent     Description of the Infringement
        9,871,874




                      (Source: Page No. 182 of http://www.alltrackusa.com/RTH_user_guide.pdf)

                      The mobile objects/assets/vehicles are associated with mobile tracking devices/mobile devices identified by Device IDs
                      (DIDs) i.e., Hardware Ids that provide mobile object locations using wireless GPS location information sources.




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                                                                                                                           Exhibit B-1
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                                                    PerDiemCo LLC v. NexTraq
                                     PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                     U.S. Patent No. 9,871,874


Claim   US Patent     Description of the Infringement
        9,871,874




                      (Source: Page No. 182 of http://www.alltrackusa.com/RTH_user_guide.pdf)
                      ---------------------------------------------------------------------------------------------------------------------------------------------
                                                         Mobile Devices Equipped with Location Information Sources
                      1-Vehicle Trackers Family of products (e.g., VT-2300, VT-3030, VT-2630, VT-3640)
                      2-Asset Trackers Family of products (e.g., AT-730, AT-5100)
                      3-Trailer Trackers (e.g., TT-2830)
                      4-GPS Tracking Devices (e.g., LMU26H201-NXT01)




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                                                  PerDiemCo LLC v. NexTraq
                                   PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                   U.S. Patent No. 9,871,874


Claim   US Patent     Description of the Infringement
        9,871,874
                      (Source: Page No. 27 of http://www.alltrackusa.com/RTH_user_guide.pdf)




                      (Source: Page No. 1 of https://www.nextraq.com/resource/hvac-companies-win-with-gps-fleet-management/ )




                      (Source: Page No. 2 of https://www.nextraq.com/services/vehicle-tracking/ )




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                                                  PerDiemCo LLC v. NexTraq
                                   PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                   U.S. Patent No. 9,871,874


Claim   US Patent     Description of the Infringement
        9,871,874




                      (Source: Page No. 3 of https://www.nextraq.com/services/vehicle-tracking/ )




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                                                  PerDiemCo LLC v. NexTraq
                                   PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                   U.S. Patent No. 9,871,874


Claim   US Patent     Description of the Infringement
        9,871,874




                      (Source: Page No. 2 of https://www.nextraq.com/services/vehicle-tracking/ )




                      (Source: Page No. 1 of https://www.ebay.com/itm/272838073110)



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                                                  PerDiemCo LLC v. NexTraq
                                   PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                   U.S. Patent No. 9,871,874


Claim   US Patent     Description of the Infringement
        9,871,874




                      (Source: Page No. 1 of https://www.nextraq.com/services/asset-tracking/)




                      (Source: Page No. 2 of https://www.nextraq.com/services/asset-tracking/)




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                                                  PerDiemCo LLC v. NexTraq
                                   PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                   U.S. Patent No. 9,871,874


Claim   US Patent     Description of the Infringement
        9,871,874




                      (Source: Page No. 2 of https://www.nextraq.com/services/asset-tracking/)




                      (Source: Page No. 3 of https://www.nextraq.com/services/asset-tracking/)




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                                                    PerDiemCo LLC v. NexTraq
                                     PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                     U.S. Patent No. 9,871,874


Claim   US Patent     Description of the Infringement
        9,871,874




                      (Source: Page No. 1 of https://www.ebay.com/itm/174395543130?chn=ps&norover=1&mkevt=1&mkrid=711-213727-13078-
                      0&mkcid=2&itemid=174395543130&targetid=4580359295528874&device=c&mktype=&googleloc=&poi=&campaignid=437
                      225724&mkgroupid=1228154759183859&rlsatarget=pla-
                      4580359295528874&abcId=9300907&merchantid=51291&msclkid=ac556c89a9351a832f4c0fa25eb06e08 )
                      --------------------------------------------------------------------------------------------------------------------------------------------

                      NexTraq uses a wireless location network to provide mobile object/asset/vehicle locations to the on-premise data
                      warehouse or AWS database management system.




                      (Source: Page No. 1 of https://www.nextraq.com/resource/hvac-companies-win-with-gps-fleet-management/ )




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                                                    PerDiemCo LLC v. NexTraq
                                     PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                     U.S. Patent No. 9,871,874


Claim   US Patent     Description of the Infringement
        9,871,874
                      The Accused Instrumentalities are executed in the database management system interfacing with the wireless location
                      network to provide the above identified tracking services to a plurality of authorized users who track the mobile
                      objects/assets/vehicles.
                      ---------------------------------------------------------------------------------------------------------------------------------------------
                                                                            Users identified by User IDs




                      (Source: Page No. 207 of http://www.alltrackusa.com/RTH_user_guide.pdf)




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                                                                                                                                              Exhibit B-1
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                                                  PerDiemCo LLC v. NexTraq
                                   PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                   U.S. Patent No. 9,871,874


Claim   US Patent     Description of the Infringement
        9,871,874




                      (Source: Page No. 209 of http://www.alltrackusa.com/RTH_user_guide.pdf)




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                                                    PerDiemCo LLC v. NexTraq
                                     PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                     U.S. Patent No. 9,871,874


Claim   US Patent     Description of the Infringement
        9,871,874
                      (Source: Page No. 209 of http://www.alltrackusa.com/RTH_user_guide.pdf)
                      --------------------------------------------------------------------------------------------------------------------------------------------
                      The one or more databases in on-premise data warehouse or AWS identifies the plurality of the users by corresponding
                      user identification codes and the plurality of the mobile objects/assets/vehicles by corresponding object identification
                      codes.

                                                                                      Databases




                      (Source: Page No. 182 of http://www.alltrackusa.com/RTH_user_guide.pdf)




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                                                    PerDiemCo LLC v. NexTraq
                                     PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                     U.S. Patent No. 9,871,874


Claim   US Patent     Description of the Infringement
        9,871,874




                      (Source: Page No. 1 of https://www.nextraq.com/resource/hvac-companies-win-with-gps-fleet-management/ )




                      (Source: Page No. 111 of http://www.alltrackusa.com/RTH_user_guide.pdf)
                      -----------------------------------------------------------------------------------------------------------------------------------------------
                      The database management system determines which users of a plurality of users of a tracking service provider are
                      privileged to receive notification information i.e., alerts when events such as arrival and departure that are based on the
                      locations of the mobile objects/assets/vehicles occur.

                                                                          Notification Information/Alerts


                                                                           64

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                                                  PerDiemCo LLC v. NexTraq
                                   PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                   U.S. Patent No. 9,871,874


Claim   US Patent     Description of the Infringement
        9,871,874




                      (Source: Page No. 1 of https://www.nextraq.com/services/real-time-alerts/ )




                      (Source: Page No. 9 of https://www.nextraq.com/wp-content/uploads/2018/04/NexTraq_New_User_Quick_Start_Guide.pdf)




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                                                  PerDiemCo LLC v. NexTraq
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                                                   U.S. Patent No. 9,871,874


Claim   US Patent     Description of the Infringement
        9,871,874
                      (Source: Page No. 148 of http://www.alltrackusa.com/RTH_user_guide.pdf)




                      (Source: Page No. 9 of https://www.nextraq.com/wp-content/uploads/2018/04/NexTraq_New_User_Quick_Start_Guide.pdf)



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                                         PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                         U.S. Patent No. 9,871,874


Claim      US Patent        Description of the Infringement
           9,871,874




                            (Source: Page No. 149 of http://www.alltrackusa.com/RTH_user_guide.pdf)




                            (Source: Page No. 148 of http://www.alltrackusa.com/RTH_user_guide.pdf)
44-a    configuring one     See 44-p for the tracking service provider, administrator, mobile objects, Object IDs, users, user IDs, database
        or more             management system, database, location information and notification information.
                                                                         67

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                                                          PerDiemCo LLC v. NexTraq
                                           PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                           U.S. Patent No. 9,871,874


Claim        US Patent      Description of the Infringement
             9,871,874
        centralized or
        distributed         One or more centralized or distributed servers of an on-premise data warehouse or servers of Amazon Web Services
        servers of the      (AWS) are configured to interface with the DBSM to identify groups of users who track the mobile objects.
        tracking service
        provider to
        interface with
        the database
        management
        system to
        identify groups     (Source: Page No. 1 of https://www.nextraq.com/resource/hvac-companies-win-with-gps-fleet-management/ )
        of users of the     ---------------------------------------------------------------------------------------------------------------------------------------------
        plurality users     The users are in Customer environments. Each customer forms a group of users as a company or organization identified
        who the track       by company or organization name or account ID/number, i.e., group identification code.
        mobile objects
        under at least                                                      Group identified by Group ID (GID)
        three different
        levels of access
        control,
        including:
        a first level of
        access control of
        the administrator
        of the tracking
        service provider
        identified by an
        administrator ID
        code (AID code),    (Source: Page No. 18 of http://www.alltrackusa.com/RTH_user_guide.pdf)
        the administrator
        having a first
                                                                                68

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                                                           PerDiemCo LLC v. NexTraq
                                            PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                            U.S. Patent No. 9,871,874


Claim        US Patent       Description of the Infringement
             9,871,874
        level of
        administrative
        privilege to
        control user
        membership in
        the group by
        specifying
        authorized users;
        ii. a second level
        of access control
        of an authorized     (Source: Page No. 199 of http://www.alltrackusa.com/RTH_user_guide.pdf)
        user other than      -----------------------------------------------------------------------------------------------------------------------------------------------
        the administrator    The Accused Instrumentalities operate under at least three different levels of access control.
        identified by an     A first level of access control is applied to NexTraq (or one or more administrators employed by NexTraq) as
        authorized user      administrator of the tracking services.
        ID code (AUID        NexTraq (or one or more administrators employed by NexTraq) is identified on the on-premise data warehouse or the
        code), the           AWS by its administrator ID code (AID code), which differentiates it from other service providers that use the AWS
        authorized user      platform. NexTraq (or one or more administrators employed by NexTraq) uses the first level of administrative privilege
        having a second      to control user membership in the groups by specifying authorized users who become group administrators of respective
        level of             customers, each identified by corresponding authorized user ID codes (AUID codes).
        administrative
        privilege given                                                                Group Administrator
        by the
        administrator to
        control
        conveyance of a
        notification to
        the group,
                             (Source: Page No. 1 of https://www.nextraq.com/terms-and-conditions/ )
                                                                                  69

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                                                          PerDiemCo LLC v. NexTraq
                                           PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                           U.S. Patent No. 9,871,874


Claim        US Patent       Description of the Infringement
             9,871,874
        wherein the
        administrator
        having the first
        level of
        administrative
        privilege does       (Source: https://www.nextraq.com/terms-and-conditions/ )
        not exercise the
        second level of
        administrative
        privilege given      (Source: Page No. 168 of http://www.alltrackusa.com/RTH_user_guide.pdf)
        to the authorized
        user, and
        iii. a third level
        of access control
        of a second user
        identified by a
        second user ID
        code (SUID
        code) specified
        by the authorized
        user identified
        by the AUID
        code before the
        second user          (Source: Page No. 207 of http://www.alltrackusa.com/RTH_user_guide.pdf)
        receives the         -----------------------------------------------------------------------------------------------------------------------------------------
        notification         NexTraq (or one or more administrators employed by NexTraq) gives an authorized user who is specified by NexTraq
        information;         (or one or more administrators employed by NexTraq) as administrator of a group a second level of administrative


                                                                               70

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                                                   PerDiemCo LLC v. NexTraq
                                    PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                    U.S. Patent No. 9,871,874


Claim   US Patent     Description of the Infringement
        9,871,874
                      privilege to control conveyance notifications i.e., alerts within a corresponding group after the second level of access
                      control of the authorized user is checked via login based an authorized user ID code (AUID code).

                                                                 Second level of administrative privileges




                      (Source: Page No. 1 of https://www.nextraq.com/terms-and-conditions/ )




                      (Source: https://www.nextraq.com/terms-and-conditions/ )

                      Account administrator is given the second level of administrative privileges at the customer level (i.e., group level) with access to
                      all tabs. Any administrator at the group level with access to alert and zone tabs possesses the second level of administrative
                      privileges.




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                                                  PerDiemCo LLC v. NexTraq
                                   PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                   U.S. Patent No. 9,871,874


Claim   US Patent     Description of the Infringement
        9,871,874




                      (Source: Page No. 209 of http://www.alltrackusa.com/RTH_user_guide.pdf)




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                                                  PerDiemCo LLC v. NexTraq
                                   PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                   U.S. Patent No. 9,871,874


Claim   US Patent     Description of the Infringement
        9,871,874




                      (Source: Page No. 207 of http://www.alltrackusa.com/RTH_user_guide.pdf)




                      (Source: Page No. 18 of http://www.alltrackusa.com/RTH_user_guide.pdf)




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                                                    PerDiemCo LLC v. NexTraq
                                     PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                     U.S. Patent No. 9,871,874


Claim   US Patent     Description of the Infringement
        9,871,874




                      (Source: Page No. 168 of http://www.alltrackusa.com/RTH_user_guide.pdf)
                      ---------------------------------------------------------------------------------------------------------------------------------------------
                      NexTraq (or one or more administrators employed by NexTraq) does not perform the administrative functions performed
                      by its customer’s group administrators.

                      A second level of access control is applied to the authorized user by the authorized user ID code (AUID code).
                                                                    Second level of access control



                      (Source: Page No. 168 of http://www.alltrackusa.com/RTH_user_guide.pdf)


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                                                  PerDiemCo LLC v. NexTraq
                                   PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                   U.S. Patent No. 9,871,874


Claim   US Patent     Description of the Infringement
        9,871,874




                      (Source: Page No. 203 of http://www.alltrackusa.com/RTH_user_guide.pdf)




                      (Source: Page No. 14 of http://www.alltrackusa.com/RTH_user_guide.pdf)




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                                                    PerDiemCo LLC v. NexTraq
                                     PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                     U.S. Patent No. 9,871,874


Claim   US Patent     Description of the Infringement
        9,871,874
                      (Source: Page No. 14 of http://www.alltrackusa.com/RTH_user_guide.pdf)
                      ---------------------------------------------------------------------------------------------------------------------------------------------
                      NexTraq (or one or more administrators employed by NexTraq) does not perform the administrative functions performed
                      by its customers’ group administrators because NexTraq customers control conveyance of information for their
                      respective groups.

                      The authorized user identified by the AUID code specifies a fleet manager as a second user before the fleet manager
                      receives alerts, i.e., the notification information.
                      See 44-p for users identified by user IDs, which applies to the fleet managers.

                                                Second authorized users identified by a second user ID code (SUID code)




                      (Source: Page No. 1 of https://www.nextraq.com/services/real-time-alerts/ )




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                                                    PerDiemCo LLC v. NexTraq
                                     PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                     U.S. Patent No. 9,871,874


Claim   US Patent     Description of the Infringement
        9,871,874




                      (Source: Page No. 209 of http://www.alltrackusa.com/RTH_user_guide.pdf)
                      ---------------------------------------------------------------------------------------------------------------------------------------------
                      When the fleet managers log in, a third level of access control is applied based on the second user ID code of the fleet
                      managers.

                                                                   Access to second authorized user accounts


                                                                          77

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                                                  PerDiemCo LLC v. NexTraq
                                   PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                   U.S. Patent No. 9,871,874


Claim   US Patent     Description of the Infringement
        9,871,874




                      (Source: Page No. 209 of http://www.alltrackusa.com/RTH_user_guide.pdf)




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                                                      PerDiemCo LLC v. NexTraq
                                       PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                       U.S. Patent No. 9,871,874


Claim      US Patent      Description of the Infringement
           9,871,874
                          (Source: Page No. 209 of http://www.alltrackusa.com/RTH_user_guide.pdf)




                          (Source: Page No. 14 of http://www.alltrackusa.com/RTH_user_guide.pdf)




                          (Source: Page No. 14 of http://www.alltrackusa.com/RTH_user_guide.pdf)
44-b     checking the     See 44-p for the tracking service provider, administrator, first level of administrative privilege, mobile objects, object
        first level of    identification code (OID code), users, user IDs, database management system, database, groups, location information
        access control    and notification information.
        based on the
        AID code before   See 44-a for centralized or distributed servers, second level of administrative privilege, group, group ID code, first level
        identifying a     of access control, second level of access control, third level of access control, AID code, second user SUID.
                                                                       79

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                                                       PerDiemCo LLC v. NexTraq
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                                                        U.S. Patent No. 9,871,874


Claim       US Patent       Description of the Infringement
            9,871,874
        group by a group
        ID code (GID        The on-premise data warehouse or the AWS platform checks the first level of access control based on the NexTraq’s
        code) that          AID code before identifying the customers of the tracking service who are identified by company organization
        includes the        names/account ID or number, i.e., group ID codes (GID codes).
        authorized user,
        the second user
        and a mobile
        object identified
        by a mobile
        object
        identification
        code (OID
        code); and




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                                                    PerDiemCo LLC v. NexTraq
                                     PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                     U.S. Patent No. 9,871,874


Claim   US Patent     Description of the Infringement
        9,871,874
                      (Source: Page No. 1 of
                      https://signin.aws.amazon.com/signin?redirect_uri=https%3A%2F%2Faws.amazon.com%2Fmarketplace%2Fmanagement%2Fs
                      ignin%3Fstate%3DhashArgs%2523%26isauthcode%3Dtrue&client_id=arn%3Aaws%3Aiam%3A%3A015428540659%3Auser%
                      2Faws-mp-seller-management-
                      portal&forceMobileApp=0&code_challenge=NYKP4aX0wYyyWBOSFoRTm5zPRRoVZqHdO6JW1cv8U2g&code_challenge_me
                      thod=SHA-256)
                      ---------------------------------------------------------------------------------------------------------------------------------------------
                      Each group is associated with the authorized user, the second user and a mobile object/asset/vehicle identified by a
                      mobile object identification code (OID code).

                                                                        Association of Users with Groups




                                                                          81

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                                                  PerDiemCo LLC v. NexTraq
                                   PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                   U.S. Patent No. 9,871,874


Claim   US Patent     Description of the Infringement
        9,871,874




                      (Source: Page No. 209 of http://www.alltrackusa.com/RTH_user_guide.pdf)




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                                                    PerDiemCo LLC v. NexTraq
                                     PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                     U.S. Patent No. 9,871,874


Claim   US Patent     Description of the Infringement
        9,871,874




                      (Source: Page No. 207 of http://www.alltrackusa.com/RTH_user_guide.pdf)
                      ---------------------------------------------------------------------------------------------------------------------------------------------
                                                               Association of Objects/assets/vehicles with Groups

                      Mobile objects identified by object IDs are associated with groups identified by GIDs in one or more databases
                      maintained by on-premise data warehouse or AWS.




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                                                        PerDiemCo LLC v. NexTraq
                                         PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                         U.S. Patent No. 9,871,874


Claim      US Patent        Description of the Infringement
           9,871,874




                            (Source: Page No. 23 of http://www.alltrackusa.com/RTH_user_guide.pdf)
44-c    checking the        See 44-p for the tracking service provider, administrator, first level of administrative privilege, mobile objects, object
        second level of     identification code (OID code), users, user IDs, database management system, database, groups, location information
        access control      and notification information.
        based on the
        AUID code           See 44-a for centralized or distributed servers, second level of administrative privilege, group, group ID code, first level
        before allowing     of access control, second level of access control, third level of access control, AID code, second user SUID.
        the authorized
        user to use the     See 44-b for checking the first level of access, the second user.
        second level of
        administrative      The second level of access control is checked after login based on the AUID code before allowing the authorized user to
        privilege to        use the second level of administrative privilege.
        specify 1) an
        event condition                                                Access to authorized user accounts
        based on the
        mobile object's
                                                                          84

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                                          PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                          U.S. Patent No. 9,871,874


Claim       US Patent        Description of the Infringement
            9,871,874
        locations that
        causes a group
        event to occur
        and
        2) an
        information
        access code
        comprising an
        access list that
        identifies one or
        more users who
        are privileged to
        be recipients of a
        notification
        information
        when the group
        event occurs
        such that any
        user who is not
        identified on the
        access list is not
        a recipient of the   (Source: Page No. 209 of http://www.alltrackusa.com/RTH_user_guide.pdf)
        notification
        information
        when the group
        event occurs and
        3) identify the
        SUID code on

                                                                          85

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                                                           PerDiemCo LLC v. NexTraq
                                            PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                            U.S. Patent No. 9,871,874


Claim       US Patent        Description of the Infringement
            9,871,874
        the access list;     (Source: Page No. 209 of http://www.alltrackusa.com/RTH_user_guide.pdf)
        and




                             (Source: Page No. 14 of http://www.alltrackusa.com/RTH_user_guide.pdf)




                             (Source: Page No. 14 of http://www.alltrackusa.com/RTH_user_guide.pdf)
                             ---------------------------------------------------------------------------------------------------------------------------------------------
                             NexTraq (or one or more administrators employed by NexTraq) uses the first level of administrative privilege to give an
                             authorized user in each customer group a second level of administrative privilege to control conveyance notifications
                             i.e., alerts within a corresponding group after a second level of access control of the authorized user is checked via login
                             based an authorized user ID code (AUID code).

                                                                                 86

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                                                  PerDiemCo LLC v. NexTraq
                                   PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                   U.S. Patent No. 9,871,874


Claim   US Patent     Description of the Infringement
        9,871,874
                                                                    Second level of access control




                      (Source: https://www.nextraq.com/terms-and-conditions/ )




                      (Source: Page No. 168 of http://www.alltrackusa.com/RTH_user_guide.pdf)




                      (Source: Page No. 203 of http://www.alltrackusa.com/RTH_user_guide.pdf)




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                                                    PerDiemCo LLC v. NexTraq
                                     PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                     U.S. Patent No. 9,871,874


Claim   US Patent     Description of the Infringement
        9,871,874




                      (Source: Page No. 14 of http://www.alltrackusa.com/RTH_user_guide.pdf)




                      (Source: Page No. 14 of http://www.alltrackusa.com/RTH_user_guide.pdf)
                      ---------------------------------------------------------------------------------------------------------------------------------------------
                      Once checked, the authorized user specifies:
                                                                           88

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                                                  PerDiemCo LLC v. NexTraq
                                   PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                   U.S. Patent No. 9,871,874


Claim   US Patent     Description of the Infringement
        9,871,874
                         1) an event condition based on the mobile object's locations that causes a group event, such as arrival or departure
                            to occur:
                      A-Geo-fencing event condition, such as arrival and departure.

                                                                          Event Condition




                      (Source: Page No. 177 of http://www.alltrackusa.com/RTH_user_guide.pdf)




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                                                    PerDiemCo LLC v. NexTraq
                                     PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                     U.S. Patent No. 9,871,874


Claim   US Patent     Description of the Infringement
        9,871,874




                      (Source: Page No. 1 of https://www.nextraq.com/services/geofencing-mapping/)




                      (Source: Page No. 148 of http://www.alltrackusa.com/RTH_user_guide.pdf)
                      ---------------------------------------------------------------------------------------------------------------------------------------------
                      An information access code comprising an access list that identifies one or more users who are privileged to be recipients
                      of notification information i.e., alert when the group event, such as arrival and departure occurs. The access list identifies

                                                                          90

                                                                                                                                              Exhibit B-1
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                                                  PerDiemCo LLC v. NexTraq
                                   PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                   U.S. Patent No. 9,871,874


Claim   US Patent     Description of the Infringement
        9,871,874
                      the SUID code, e.g., ID of the fleet manager on the access list. Users who are not identified on the access list are not
                      recipients of the notification information i.e., alert when the group event, such as arrival and departure occur.
                                                           Information Access code Comprising Access List




                      (Source: Page No. 209 of http://www.alltrackusa.com/RTH_user_guide.pdf)




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                                                  PerDiemCo LLC v. NexTraq
                                   PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                   U.S. Patent No. 9,871,874


Claim   US Patent     Description of the Infringement
        9,871,874




                      (Source: Page No. 9 of https://www.nextraq.com/wp-content/uploads/2018/04/NexTraq_New_User_Quick_Start_Guide.pdf)




                      (Source: Page No. 148 of http://www.alltrackusa.com/RTH_user_guide.pdf)




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Claim   US Patent     Description of the Infringement
        9,871,874




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                                                       PerDiemCo LLC v. NexTraq
                                        PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                        U.S. Patent No. 9,871,874


Claim      US Patent       Description of the Infringement
           9,871,874
                           (Source: Page No. 9 of https://www.nextraq.com/wp-content/uploads/2018/04/NexTraq_New_User_Quick_Start_Guide.pdf)




                           (Source: Page No. 149 of http://www.alltrackusa.com/RTH_user_guide.pdf)
44-d    determining the  See 44-p for the tracking service provider, administrator, first level of administrative privilege, mobile objects, object
        mobile object's  identification code (OID code), users, user IDs, database management system, database, groups, location information
        locations based  and notification information.
        on the OID code;
                         See 44-a for centralized or distributed servers, second level of administrative privilege, group, group ID code, first level
                         of access control, second level of access control, third level of access control, AID code, second user SUID.

                           See 44-b for checking the first level of access, the second user.
                                                                         94

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                                                  PerDiemCo LLC v. NexTraq
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Claim   US Patent     Description of the Infringement
        9,871,874

                      See 44-c for group event, event condition, information access code and access list.


                                         Mobile object’s/asset’s/vehicle’s locations are determined based on the OID code




                      (Source: Page No. 9 of http://www.alltrackusa.com/RTH_user_guide.pdf)




                      (Source: Page No. 1 of https://www.nextraq.com/resource/hvac-companies-win-with-gps-fleet-management/ )




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                                                  PerDiemCo LLC v. NexTraq
                                   PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                   U.S. Patent No. 9,871,874


Claim   US Patent     Description of the Infringement
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                      (Source: Page No. 32 of http://www.alltrackusa.com/RTH_user_guide.pdf)




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                                                        PerDiemCo LLC v. NexTraq
                                         PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                         U.S. Patent No. 9,871,874


Claim      US Patent        Description of the Infringement
           9,871,874




                            (Source: Page No. 32 of http://www.alltrackusa.com/RTH_user_guide.pdf)
44-e.   determining         See 44-p for the tracking service provider, administrator, first level of administrative privilege, mobile objects, object
        whether the         identification code (OID code), users, user IDs, database management system, database, groups, location information
        group event         and notification information.
        occurred based
        on the event        See 44-a for centralized or distributed servers, second level of administrative privilege, group, group ID code, first level
        condition and the   of access control, second level of access control, third level of access control, AID code, second user SUID.
        mobile object's
        locations; and      See 44-b for checking the first level of access, the second user.

                            See 44-c for group event, event condition, information access code and access list.

                            See 44-d for determining the mobile object's locations based on the OID code.
                                                                          97

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                                                   U.S. Patent No. 9,871,874


Claim   US Patent     Description of the Infringement
        9,871,874

                      The occurrence of the group event is determined based on the event condition, such as arrival/departure and the mobile
                      object's locations.




                      (Source: Page No. 1 of https://www.nextraq.com/services/geofencing-mapping/)




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                                                         PerDiemCo LLC v. NexTraq
                                          PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                          U.S. Patent No. 9,871,874


Claim      US Patent         Description of the Infringement
           9,871,874
                             (Source: Page No. 148 of http://www.alltrackusa.com/RTH_user_guide.pdf)
44-f.   checking the         See 44-p for the tracking service provider, administrator, first level of administrative privilege, mobile objects, object
        third level of       identification code (OID code), users, user IDs, database management system, database, groups, location information
        access control       and notification information.
        based on the
        SUID code            See 44-a for centralized or distributed servers, second level of administrative privilege, group, group ID code, first level
        before sending       of access control, second level of access control, third level of access control, AID code, second user SUID.
        the notification
        information to       See 44-b for checking the first level of access, the second user.
        the second user
        when the group       See 44-c for group event, event condition, information access code and access list.
        event occurs
        such that only       See 44-d for determining the mobile object's locations based on the OID code.
        identified users
        of the plurality     See 44-e for determining whether the group event occurred based on the event condition and the mobile object's locations.
        of users on the
        access list can
        receive the          Alerts are sent to fleet managers who are second user identified by SUID code.
        notification.
                             For example, NexTraq (or one or more administrators employed by NexTraq) checks third level of access control via
                             manager’s login, which is based on user ID codes of managers.




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                                                  PerDiemCo LLC v. NexTraq
                                   PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                   U.S. Patent No. 9,871,874


Claim   US Patent     Description of the Infringement
        9,871,874
                      (Source: Page No. 1 of https://www.nextraq.com/services/real-time-alerts/ )




                      (Source: Page No. 14 of http://www.alltrackusa.com/RTH_user_guide.pdf)




                      (Source: Page No. 14 of http://www.alltrackusa.com/RTH_user_guide.pdf)

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                                                    PerDiemCo LLC v. NexTraq
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                                                     U.S. Patent No. 9,871,874


Claim   US Patent     Description of the Infringement
        9,871,874
                      ---------------------------------------------------------------------------------------------------------------------------------------------
                      Only identified users of the plurality of users on the access list can receive the notification i.e., alert.




                      (Source: Page No. 1 of https://www.nextraq.com/services/real-time-alerts/ )




                      (Source: Page No. 9 of https://www.nextraq.com/wp-content/uploads/2018/04/NexTraq_New_User_Quick_Start_Guide.pdf)




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                                                  PerDiemCo LLC v. NexTraq
                                   PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                   U.S. Patent No. 9,871,874


Claim   US Patent     Description of the Infringement
        9,871,874




                      (Source: Page No. 148 of http://www.alltrackusa.com/RTH_user_guide.pdf)




                      (Source: Page No. 9 of https://www.nextraq.com/wp-content/uploads/2018/04/NexTraq_New_User_Quick_Start_Guide.pdf)

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                                                         U.S. Patent No. 9,871,874


Claim      US Patent        Description of the Infringement
           9,871,874




                            (Source: Page No. 149 of http://www.alltrackusa.com/RTH_user_guide.pdf)
 45     The method of       See 44-p for the tracking service provider, administrator, first level of administrative privilege, mobile objects, object
        claim 44,           identification code (OID code), users, user IDs, database management system, database, groups, location information
        wherein the         and notification information.
        second level of
        access control is   See 44-a for centralized or distributed servers, second level of administrative privilege, group, group ID code, first level
        used by the         of access control, second level of access control, third level of access control, AID code, second user SUID.
        authorized user
        to assign a role    See 44-b for checking the first level of access, the second user.
        in an
                                                                         103

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                                                         PerDiemCo LLC v. NexTraq
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                                                          U.S. Patent No. 9,871,874


Claim       US Patent        Description of the Infringement
            9,871,874
        organization or a    See 44-c for group event, event condition, information access code and access list.
        security-
        clearance to the     See 44-d for determining the mobile object's locations based on the OID code.
        second user,
        wherein the one      See 44-e for determining whether the group event occurred based on the event condition and the mobile object's locations.
        or more central
        or distributed       See 44-f for checking the third level of access control based on the SUID code before sending the notification
        servers are          information.
        configured to
        interface with       The second level of access control is used by the authorized user to assign a role in an organization. The servers of an
        the database         on-premise data warehouse or Amazon Web Services (AWS) are configured to interface with the database management
        management           system such that the second user is given privilege to perform administrative functions based on the assigned role or the
        system such that     security-clearance.
        the second user
        is given privilege                                                            Roles
        to perform one
        or more
        administrative
        functions that are
        based on the
        assigned role or
        the security-        (Source: Page No. 207 of http://www.alltrackusa.com/RTH_user_guide.pdf)
        clearance.




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                                                  PerDiemCo LLC v. NexTraq
                                   PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                   U.S. Patent No. 9,871,874


Claim   US Patent     Description of the Infringement
        9,871,874




                      (Source: Page No. 87 of http://www.alltrackusa.com/RTH_user_guide.pdf)




                      (Source: Page No. 13 of http://www.alltrackusa.com/RTH_user_guide.pdf)




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                                                  PerDiemCo LLC v. NexTraq
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Claim   US Patent     Description of the Infringement
        9,871,874




                      (Source: Page No. 209 of http://www.alltrackusa.com/RTH_user_guide.pdf)




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                                          PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                          U.S. Patent No. 9,871,874


 Claim       US Patent       Description of the Infringement
             9,871,874




                             (Source: Page No. 209 of http://www.alltrackusa.com/RTH_user_guide.pdf)

Caveat: The notes and/or cited excerpts utilized herein are set forth for illustrative purposes only and are not meant to be limiting in any manner.
For example, the notes and/or cited excerpts, may or may not be supplemented or substituted with different excerpt(s) of the relevant reference(s), as
appropriate. Further, to the extent any error(s) and/or omission(s) exist herein, all rights are reserved to correct the same.




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